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                      EXHIBIT D
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                          Swartz IP Services Group Inc.

                                  $25,000,000

                      Reference Notes due November 14,2016




                        NOTE PURCHASE AGREEMENT



                            Dated November 14, 2011
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                                       Reference Notes due 2016

                                                                                November 14, 20 11

   TO THE PURCHASER:

         Swartz IP Services Group Inc., a Texas Corporation (the "Company"), agrees with
   Wimbledon Fund (Class TI), a class of a Cayman Islands Segregated Portfolio Company (the
   "Purchaser") as follows:

                                               Section 1

                                       Allthorization ofNotes.

           The Company will auth01ize the issue and delivery of up to $25,000,000 aggregate
   principal amount of its Reference Notes due 2016 (the "Notes", such term to include any such
   notes issued in substitution therefor pursuant to this Agreement) in accordance with the tenns set
   forth herein. The Notes shalt be substantially in the fonn set out in Exhibit 1. Certain
   capitalized and other terms used in this Note Purchase Agreement (this "Agreement") are
   defined in Schedule B.

                                               Section 2

                                    Sale and Acceptance of Notes..

           Subject to the terms and conditions of this Agreement, the Company will issue to the
   Purchaser and the Purchaser wil1 accept from the Company, at the Closing provided for in
   Section 3, Notes in the principal amount of $12,500,000 (such Notes, Tranche A Notes") upon
   delivery by the Purchaser to the Company by wire transfer immediately available funds in an
   amount equal to 100% of such principal amount (the "Purchase Price"). In connection therewith,
   immediately following the issuance of the Tranche A Notes, the Company shall simultaneously
   cause to be delivered to the Purchaser warrants to purchase an aggregate of 3% of the fully
   diluted capital stock of Pineboard Holdings, Inc. {HPineboard") as of November 14, 2011,
   substantially in the form set forth on Exhibit II hereto (the "Warrants") (which Warrants shall
   be a portion of like warrants issued to the Company by Pineboard Holdings Inc. substantially
   simultaneously with the Closing provided for in Section 3). After the ~losing, subject to the
   terms and conditions of this Agreement, the Company will issue to the Purchaser and the
   Purchaser will accept from the Company, from time to time, one or more additional Notes (such
   Notes, "Tranche B Notes 11) in the additional aggregate principal amount of$12,500,000, or such
   lesser principal amounts as Purchaser shall purchase pursuant to the tenns of this Agreement,
   upon delivery by the Purchaser to the Company by wire transfer immediately available funds in
   an amount equal to 100% of the principal amount of such Tranche B Notes purchased.
   Purchaser shall not be obligated to purchase Tranche B Notes.
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                                               Section 3

                                               Closings.

           Section 3.1    Tranch·e A Note Closing. The delivery of the Tranche A Notes and the
    Warrants to be accepted by the Purchaser shall occur at the offices of Company at 9:00a.m., Los
   Angeles time, at a closing (the ''Closing") on the first date upon which the conditions set fotih in
   Section 4 are satisfied or on such other Business Day as may be agreed upon by the Company
   and the Purchaser. At the Closing, the Company will deliver to the Purchaser the Tranche A
   Notes and, immediately thereafter, the Warrants, in each case to be accepted by the Purchaser in
   the fotm of a single Note and single Warrant dated the date of the Closing and, in the case of the
   Notes, registered in the Purchaser's name and, in the case of the WaiTants, with appropriate
   transfer documents evidencing the transfer of the Warrants by the Company to the Purchaser,
   against delivery by the Purchaser to the Company or its order of immediately available funds in
   the amount of the principal amount thereof by wire transfer to an account number designated by
   the Company at least twenty-four (24) hours before the Closing. For the avoidance of doubt, the
   Purchaser agrees that it shall deliver to the Company at least twenty-four (24) hours before the
   Closing immediately available funds in the amount of$12,500,000.                   ·

           Section 3.2    Tranche B Note Closings. Purchaser shall deliver written notice (each, a
   "Tranche B Notice") to the Company that it wishes to putchase Tranche B Notes. Each
  Tranche B Notice shall set forth (i) the closing date for the purchase of Tranche B Notes set forth
   therein (each such date, a "Tranche B Closing Date") which Tranche B Closing Date shall not be
   less than five (5) Business Days after the date of such Tranche B Notice (provided, that, for no
  more than one Tranche B Notice per calendar month, so long as such Tranche B Notice relates to
  Tranche B Notes with an aggregate ptincipal amount of no greater than $2,000,000, such
  Tranche B Closing Date shaU not be less than one (l) Business Days after the date of sueh
  Tranche B Notice), and (ii) the principal amount of Tranche B Notes to be purchased, which
  principal amount, when added to the principal amount of all Tranche B Notes purchased prior to
  such Tranche B Closing Date, shall not exceed $12,500,000. Each Tranche B Note shall be in a
  principal amount of not less than $250,000, provided that, if the purchase of a Tranche B Note in
  a principal amount of $250,000 shall cause the aggregate principal amount of Tranche B Notes
  purchased pursuant to this Section 3.2 to exceed $12,500,000, the principal amount of such
  Tranche B Note shall, unless the Company and the Purchaser otherwise agree, be an amount
  equal to the difference between the aggregate principal amount of all Tranche B Notes purchased
  prior to such Tranche B Note and $12,500,000. Each delivery of the Tranche B Notes to be
  accepted by the Purchaser shall occur at the offices of Barnes Law, Los Angeles, California, at
  9:00 a.m., Los Angeles time, at a closing (each, a "Tranche B Closing") on the Tranche B
  Closing Date set forth in the Tranche B Notice pettaining to the purchase of such Tranche B
  Note or on such other Business Day as may be agreed upon by the Company and the Purchaser.
  At each Tranche B Closing, the Company will deliver to the Purchaser Tranche B Notes to be
  accepted by the Purchaser in the form of a sit1gle Tranche B Note dated the date of such
  Tranche B Closing and registered in the Purchaser's name, against delivery by the Purchaser to
  the Company or its order of immediately available funds in the amount of one hundred percent
  ( 100%) of the principal amount thereof by wire transfer to an account number designated by the
   Company.



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                                               Section 4

                                        Conditions to Closing.

           Section 4.1     Conditions to Purchaser's Obligations. The Purchaser's obligation to
   accept the Notes to be delivered to the Purchaser at th~ Closing and at each Tranche B Closing is
   subject to tbe fulfillment (or waiver) prior to or at the Closing or such Tranche B Closing, as the
   case may be, of the following conditions:

                  (a)    The Company shall have delivered to the Purchaser such Notes, and, in the
   case of the Closing, the Company shall substantially simultaneously be delivering to the
   Purchaser the Warrants, in each case duly authorized and issued, to be accepted by the Purchaser
   in the form of a single Note and, in the case of the Closing, single Warrant, dated as of tl1e
   Closing Date or such Tranche B Closing Date, as the case may be, and, in the case of the Notes,
   registered in the Purchaser's name and, in the case of the Warrants, with appropriate transfer
   documents evidencing the transfer of the Warrants by the Company to the Purchaser.

                  (b)     The representations and wan·anties of the Company in this Agreement
   shall be true and correct in all material respects (without regard to qualifications or exceptions
   contained therein as to materiality) when made and at the time of the Closing or such Tranche B
   Closing, as the case may be, as though made on and as of the Closing or such Tranche B Closing,
   as the case may be.

                 (c)     The Company shall have perfonned and complied in all material respects
   with all agreements and conditions contained in this Agreement required to be perfonned or
   complied with by it prior to or at the Closing or such Tranche B Closing, as the case may be.

                  (d)    No Governmental Authority having jurisdiction over any party hereto
    shaH have issued any order, decree, ruling, injunction or other action that is in effect (whether
    temporary, preliminary or pennanent) restraining, enjoining .or otherwise prohibiting the
    consummation of the transactions contemplated by this Agreement, and no law or regulation
  · shall have been adopted that makes consUimnation of the transaction contemplated by this
   Agreement illegal or otherwise prohibited.

                 (e)     In the case of each Tranche B Closing, the closing of the transactions
   contemplated by the Purchase Agreement shall have occurred (or.shaU be occurring substantially
   concurrently with such Tranche B Closing).

           Section 4.2    Conditions to Company,s Obligations. The Company's obligation to
   issue the Notes, and, in the case of the Closing, to transfer to the Purchaser the Warrants, to be
   delivered to the Purchaser at the Closing and at each Tranche B Closing is subjeCt to the
   fulfillment (or waiver), prior to or at the Closing, or such Tranche B Closing, as the case may be,
   of the following conditions:

                 (a)     The Purchaser shall have delivered, or caused to be delivered, to the
   Company or its order, immediately available funds in the amount of 100% of the principal
   amount of the Notes to be purchased.



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                  (b)     The representations and warranties of the Purchaser in this Agreement
   shall be true and correct in all material respects (without regard to qualifications or exceptions
   contained therein as to materiality) when made and at the time of the Closing or such Tranche B
   Closing, as the case may be.

                 (c)      The Purchaser shall have pe1fonned and complied in all material respects
   with all agreements and conditions contained in this Agreement required to be pe1formed or
   complied with by it prior to or at the Closing or such Tranche B Closing, as the case may be.

                  (d)    No Governmental Authority having jurisdiction over any party hereto
   shall have issued any order, decree, ruling, injunction or other action that is in effect (whether
   ·temporary, preliminary or pennanent) restraining, enjoining or otherwise prohibiting the
    consum_mation of the transactions contemplated by this Agreement, and no Jaw or regulation
   shall have been adopted that makes consummation of the transaction contemplated by this
   Agreement illegal or otherwise prohibited.

                 (e)     In the case of each Tranche B Closing, the closing of the transactions
   contemplated by the Purchase Agreement shall have occutTed (or shall be occurring substantially
   concurrently with such Tranche B Closing).

                   (f)    In the case of each Tranche B Closing, the Purchaser shall not have
   exercised its rights under Section 10 of this Agreement for an aggregate amount in excess of
   $2,500,000.

                                              Section 5

                         Representations and Warranties of the CQmpany.

          The Company represents and warrants to the Purchaser that:

            Section 5.1  Organization; Power and Authority. It is duly organized, validly
   existing and in good standing under the laws ofthe State of Texas. It has all requisite limited
   liability company or corporate power, as applicable, to enter into this Agreement and to can-y out
   the transaction contemplated hereby and by the Notes.

           Section 5.2     Authorization, Etc. The execution and delivery of this Agreement, and
  the consummation of the transaction contemplated hereby, have been duly authorized by the
  appropriate governing body of it, and no other or further corporate or similar action on the part of
  it is necessary therefor. This Ag~ement is, and upon execution and delivery thereof each Note
  will be, the legal, valid and binding obligation of the Company, and this Agreement is, and upon
  execution and delivery thereOf the Warrant will be, the legal, valid and binding obligation of
  Pine~oard, enforceable in accordance with its tenns, except as such enforceability may be
  limited by bankruptcy, insolvency, reorganization or other laws affecting creditors• rights
  generally, and by general equitable principles. No other consent, approval or authorization of
  any Person is required in connection with the ex.ecution, delivery or performance by it of this
  Agreement other than such other consents, approvals or authorizations~ as to which the failure to
  obtain could not, individually or in the aggregate, reasonably be expected to have a material
  adverse effect on the ability of it to perform its obligations under this Agreement.


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                                               Section 6

                         Representations and Agreements of the Purchaser-.

           The Purchaser hereby represents and warrants to and agrees with the Company as
    follows:

            Section 6.1     Organization; Power and Authority. The Purchaser is duly organized,
    validly existing and in good standing under the laws of the state in which it is incorporated or
    organized, as applicable. The Purchaser has all requisite power to enter into this Agreement and
    to carry out the transaction contemplated hereby.

           Section 6.2 Authorization, Etc. The execution and delivery of this Agreement, and
    the consummatton of the transaction contemplated hereby, have been duly authorized by the
   appropriate governing body of the Purchaser, as. applicable, and no other or further corporate or
   similar action on the part of the Purchaser is necessary therefor. The execution and delivery of
   this Agreement and the perfonnance by the Purchaser of its obligations hereunder will not
   violate or constitute a default under the terms of any agreement, indenture or other instrument,
   license> judgment, decree, order, law, statute, ordinance o1· other governmental rule or regulation
   by which the Purchaser is bound. This Agreement is the legal, valid and binding ob1igation of
   the Purchaser, enforceable in accordance with its tem1s, except as such enforceability may be
   limited by bankruptcy, insolvency, reorganization or other Jaws affecting creditors' rights
   generally, and by general equitable principles. No other consent, approval or autbmization of
   any Person is required in connection with the execution, delivery or performance by the
   Purchaser of this Agreement other than such other consents, approvals or authorizations as to
   which the failure to obtain could not, individually or in the aggregate, reasonably be expected to
   have.a materia[ adverse effect on the ability of the Purchaser to perfonn its obligations under this
   Agreement.

          Section 6.3    Acknowledgements. The Purchaser acknowledges and agrees that:

                  (a)The Securities ..are being acquired by the Purchaser in connection with the
   consummation of the transactions (the "Transactions") contemplated by the Purchase
   Agreement. The Securities have not been registered under the Securities Act or under any state
   securities laws and the Purchaser is acquiring the Securities pursuant to an exemption from
   registration under the Securities Act. The Purchaser understands that it may not sell or otherwise
   dispose of any of the Securities except in compliance with the registration requirements or
   exemption provisions of the Securities Act and any other applicable securities laws, and that it
   may therefore be required to hold such Securities indefinitely.
                                                     . ..
                   (b)     It has had access to such information as it has deemed necessary or
   appropriate for its own independent due diligence investigation and the Company does not make,
   and neither has made, any representation as to sufficiency or suitability of such information for
   the Purchaser's purposes. The Company may possess material, nonpublic infonnation about the
   Company, Pineboard and their respective subsidiaries and conditions (financial and otherwise),
   financial status, results of operations, businesses, properties, management, plans and prospects
   (collectively, the "Information"} and the Purchaser did not request or receive such Infonnation



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     in making the decision to accept the Securities pursuant to this Agreement. The Purchaser agrees
     that any such additional Infonnation the Company may possess would not have been material to
     the Purchaser,s decision to enter into this Agreement and acquire the Securities because of the
     overall benefits of the Transactions and this Agreement to the Purchaser and its Affiliates.

                    (c)    lt is an "accredited investor" as that tenn is defined by Rule 501 of the
    Securities Act, and has such knowledge and experience in financial and business matters and in
    investments of this type that it is capable of evaluating the merits and risks of the investment in
    the Securities and of making an informed investment decision, and it is able to bear the economic
    risk of an investment in the Securities.



                                                Section 7

                Financial Information; Affirmative Covenants; Negative Covenants.

            Section 7.1 Financial Statements and Other Reports. Commencing on the Closing
    Date, the Company shall cause to be prepared and made available to the holders of the Notes:

                   (a)     Interim Financial Statements. Upon request, within forty-five (45) days
    after the end of eacb quarterly fiscal period (except the last) of each fiscal year, an unaudited
    consolidated balance sheet of the Company, and its respective subsidiaries as of the close of such
    quarterly period and unaudited consolidated statements of income, cash flows and stockholders'
    equity for the quarterly period then ended and that portion of the fiscal year then ended, all in
    reasonable detail in accordance with GAAP (except for the absence of footnotes and subject to
    normal year-e~d adjustments) applicable to quarterly financial statements generally.

                   (b)     Annual Financial Statements. Upon request, within ninety (90) days after
    the end of each fiscal year, an audited consolidated balance sheet of the Company and its
    respective subsidiaries as of the close of such fiscal year and audited consolidated statements of
    income, cash flows and stockholders' equity for the fiscal year then ended, including the notes
    thereto, all in reasonable detail and in comparative fonn the corresponding figures for the
    preceding fiscal year, prepared by an independent certified public accounting finn, in accordance
    with GAAP.

              .    (c)    Regulatory and Rating Filings. Upon request, the Company shaH make
    available to the holders of the Notes, reasonably promptly, and in any event within ten (1 0)
    Business Days after such request, copies of all previously filed or delivered (since the holder's
    last request) statutory accounting and other financial reports filed with any regulatory
    Governmental Authorities.

                   (d)    Notices. Upon request, the Company shall make available to the holders
    of the Notes reasonably promptly (but in no event later than ten (10) Business Days after such
    request) (a) information relating to the occurrence of any of the following since such holder's
    last request: (i) the commencement of any proceedings or investigations by or before any
    Governmental Authority and any actions or proceedings in any court or before any arbitrator
    against or involving the Company, Pineboard or any of their subsidiaries or any of their


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     respective properties, assets ot businesses, in each case involving a claim or liability which
     would reasonably be expected to have a material adverse effect on the Compariy, in each case
     taken as a whole with its subsidiaries, (ii) any attachment, judgment, levy or order assessed
     against the Company that would reasonably be expected to have a material adverse effect on the
    Company, taken as a whole with its subsidiaries, (iii) any default or event of default under any
    Indebtedness of the Company that would reasonably be expected to have a Material Adverse
    Effect on the Company taken as a whole with its subsidiaries and (b) notice of the time and place
    of the next scheduled meeting of the Company's board of directors (it being understood that in
    the event that the holders of the Notes shall reasonably request, one representative of the holders
    of the Notes reasonably acceptable to the Company shall be pennitted to attend such meeting of
    the Company's board of directors and/or, if such holders provide reasonably acceptable evidence
    that no such representative is able to so attend, the Company will provide such representative
    with reasonable access to the minutes of such meeting (when available); provided, that> in either
    case of attendance or access to the minutes, such representative and such holders execute a
    customary confidentiality agreement reasonably acceptable to the Company).

           Section 7.2   Affirmative Covenants. Unless prior written notice of at least ten ( 1 0)
    Business Days is provided to all of the holders of the Notes it will, and will cause its Significant
    Subsidiaries to:

                    (a)     Preservation of Corporate Existence and Related Matters. Preserve and
    maintain its separate corporate existence and all material rights, franchises, licenses, pennits and
    privileges sufficient for the conduct of its business, except as would not have a material adverse
    effect on the Company or Pineboard, as applicable, in each case taken as a whole with its
    Significant Subsidiaries; and qualify and remain qualified as a foreign corporation authorized to
    do business in each jurisdiction in which the character of its properties or the nature of its
    business requires such· qualification or authorization, except in each case to the extent that the
    failure to be or remain so qualified would not have a material adverse effect on the Company or
    Pineboard, as applicable, in each case taken as a whole with its Significant Subsidiaries.

                  (b)     Maintenance of Property. Protect and preserve all material properties
   necessary to its business. including tangible and intangible assets; maintain in good working
   order and condition (ordinary wear and tear excepted) all buildings, equipment and other tangible
   real and personal property necessary and material to its business; and from time to time make or
   cause to be made all renewals, replacements and additions to such property necessary for the
   conduct of its business so that the business cauied on in connection therewith may be properly
   conducted at all times, except in each case to the extent that the failure to do so would not have a
   material adverse effect on the Company, as applicable, in each case taken as a whole with its
   Significant Subsidiaries.

                    (c)     Maintenance of Insurance. Maintain insurance, including directors' and
   officers' liability insurance, with responsible insurance companies against such risks and in such
   amounts as are customarily maintained by similar businesses in similar industries, except in each
   case as would not have material adverse effect on the Company ·taken as a whole with its
   Significant Subsidianes.




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                   (d)    Payment of Taxes and Governmental Charges. Pay all material taxes,
    assessments and other governmental charges that may be levied or assessed upon it or any of its
    property (including, without limitation, withholding, social security, payroll and similar
    employment related taxes 011 the dates such taxes are due);provided, that Company may contest
    such taxes, assessments and other governmental charges in good faith so long as adequate
    reserves are maintained with respect thereto in accordance with GAAP, and except in each case
    as would not have a material adverse effect on the Company taken as a whole with its Significant
    Subsidiaries.                                                                          ·

                    (e)    Accounting Methods: Financial Records.           Maintain a system of
    accounting, and keep such books, records and ·accounts sufficient to pennit the preparation of
    financial statements in accordance with GAAP consistently applied and in compliance with the
    regulations of any Governmental Authority having jurisdiction over it or any of its propetties,
    except in each case as would not have a material adverse effect on the Company taken as a whole
    with its Significant Subsidiaries.

                  (f)     Compliance With Laws. Observe and remain in compliance with all laws
    and maintain in full force and effect all approvals of Govemmental Authorities (including state
    insurance regulatory bodies), in each case applicable or necessary to the conduct of its business
    except where the failure to do so would not result in a material adverse effect on the Company
    taken as a whole with its Significant Subsidiaries and except that the Company or any such
    Subsidiary may contest the applicability of any law in good faith so long as adequate reserves are
    maintained with respect thereto in accordance with GAAP.

                    (g)    Visits and Inspections. Permit representatives of the holder of this Note,
    fi·om time to time, as often as may be reasonably requested, but only during normal business
    hours and upon reasonable prior notice, to visit and inspect its properties; inspect, audit and
    make extracts from its books, records and files, including, but not limited to, management letters
    prepared by independent accountants; and discuss with its principal officers and its independent
    accountants, its business, assets, liabilities, fmancial condition, results of operations and business
    prospects~ in each case subject to customary confidentiality agreements and provided that in no
    event will any such visits, inspections, audits or discussions unreasonably interfere with the
    business operations of the Company.

           Section 7.3     Negative Covenants.

                   (a)    Debt. Unless prior written notice of at least ten (1 0) Business Days is
    provided to an of the holders of the Notes and holders of at least 50% in principal amount of the
    Notes at the time outstanding   do not object, or otherwise consent to in writing, the Company
    hereby covenants and agrees that it will not. and will not permit any of its Significant
    Subsidiaries to at any time after the date hereof, create, incur, assume or suffer to exist any
    Indebtedness, other than (i) unsecured Indebtedness that are pari passu with or junior to the
    Notes, (ii) capital leases entered into in the ordinary course of business, {iii) Penuitted
    Indebtedness or (iv) any other Indebtedness so long as the net cash proceeds of such
    Indebtedness are used within 45 days of receipt thereof (a) to make an offer of prepayment of the
    Notes to holders pursuant to Section 9.1(a} (it being understood that in the event that any holders
    decline to receive such a prepayment, the Company shall be permitted to use the amounts not



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    required to be used to. prepay the Notes pursuant to such offer in any manner that does not violate
    the tenns of this Agreement) or (b) to make an offer of prepayment or to prepay other
    Indebtedness that is pari passu with the Notes.

                  (b)    Closing of Purchase Agreement. Unless otherwise consented to in writing
    by the holders of more than 50% in principal amount of the Notes at the time outstanding,
    Company shall not, at or prior to the consummation of the closing of the transactions
    contemplated by the Purchase Agreement, waive any of the provisions of the Purchase
    Agreement, or agree to any amendment of the Purchase Agreement, in each case the effect of
    which would be materially adverse to the interests of the Purchaser in its capacity as holder of
    the Tranche A Notes and Tranche B Notes.

                                             Section 8

                                     Principal Reset and Maturity.

           Section 8.1    Principal Reset. On the second Business Day immediately following the
    receipt by the Company of a correct and complete copy of the monthly Net Asset Value report of
    the Tewksbury lnvestment Fund Ltd. Series B of Tewksbury Capital Management Bermuda {the
    "Fund"), commencing with the Net Asset Value report received in the month of November
    2011, the principal amount of the Notes shall either be increased or decreased as follows: If the
    Net Asset Value report received in the respective month reflects a decrease, the principal amount
    of the Notes shall be decreased to reflect the perfonnance of the Fund over the immediately
   preceding month;· If the Net Asset Value rep011 received in the respective month reflects an
   increase, the principal amount of the Notes shall ·be increased to reflect the perfonnance of the
   Fund over the immediately preceding month. The amount of the increase or decrease shall be
   calculated by multiplying the monthly return to investors net of fees for the precedil,1g calendar
   month {excluding, for the avoidance of doubt, the impact of asset inflows and outflows) by the
   then-current principal amount of the Notes. For the avoidance of doubt, a pPsitive increase in
   such monthly return to investors net of fees shall result in a positive increase to the principal
   amount ofthe Notes and a negative decrease in such monthly return to investors net of fees shall
   result in a negative decrease to the principal amount of the Notes. The then-current princ~pal
   amount of the Notes will at all tiines be updated and listed on Exhibit Ill to this Agreement, and     ... :··
   reasonably promptly delivered to the·holders of the Notes by the Company upon request. No
   separate interest shan be payable on the Notes. At each one year anniversary of the Notes, the
   sum of one percent [ 1%] of the then-current principal amount of the Notes will be added to the
   principal amount of the Notes and the revised principal balance will be updated and listed on
   Exhibit III to this Agreement, and reasonably promptly delivered to the holders of the Notes by
   the Company upon request.

         Section 8.2  Maturity. Except as otherwise expressly set forth herein, the Notes shan
   become due and payable in full on November 14, 2016; provided, that, at the written request of
   the holders of more than 50% in principal amount of the Notes at the time outstanding delivered
   to the Company and the other holders of the Notes no later than six month prior to November 14,
   2016, the maturity date of the Notes shall be extended to November 14,2021.




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                                                  Section 9

                                    Optional Prepayment of the Notes.

             Section 9.1    Prepayments at the Option of the Company.

                    (a)    Notwithstanding anything to the contrary contained herein, Error!
    Reference source not found. shall not apply to any transaction so long as, at least thirty (30)
    days prior to the consummation of such transaction, the Company gives each holder of Notes (i)
    written notice of such transaction (and a reasonable description of the principal terms thereof),
    which written notice shall provide each such holder with the option to at, and conditioned upon,
    the closing of such transaction, have such holder's Notes prepaid, in whole, for cash pursuant to
    Section 9.3, and shall include the information contemplated to be included in notices delivered
    pursuant to Section 9.2, and (ii) such other information as the Company determines in good faith
    is reasonably necessary for a reasonable investor in such holder's position to make an infonned
    investment decision. Such holder may irrevocably exercise its option pursuant to such written
    notice by communicating to the Company, in writing, its election no later than fifteen (15) days
    following delivery of such written notice and other information referenced in this Section 9.1 (a)_
    If such holder does not timely communicate its election pursuant to the immediately preceding
    paragraph, it shall be deemed to have validly elected to have such holder's Notes prepaid, in
    whole, for cash pursuant to Section 9.3.

                      (b)    The ·company shall have the right, at any time, to prepay the Notes in
    whole, for cash, pursuant to Section 9.3, for a price equal to the sum of (a) 100% of the then
   ·remaining principal amount of such Notes plus (b) (1) if the date of such redemption is on or
    after the fifth anniversary of the date hereof, $0, (2) if the date of such redemption is any date
    prior to 'the fifth anniversary of the date hereof and on or after the third anniversary of the date
    hereof, the product of (x) 10%, (y}(A) the number of days between the redemption date and the
    fifth aillliversary of the date hereof divided by (B) 365 and (z) the remaining principal amount of
    such Notes, or (3) if the date of such redemption is any date prior to the third anniversary of the
    date hereof, the product of (x) 50% and (y) the remaining principal amount of such Notes.

               Section 9.2     Notice of Optional Prepayments. The Company will give each holder of
       Notes written notice of .the exercise of the optional prepayment right under Section 9.1(b) not
       less than forty-five (45) days prior to the date fixed for such prepayment (it being understood that
       such notice may provide that the occurrence of such prepayment on the date fixed therefor is
       conditional upon the closing of any debt facility or securities issuance or other transaction).
       Such notice shall specify such date, and the principal amount being prepaid (and, in the case of
       prepayment pursuant to Section 9.1(b), the amo~nt of the premium to be paid) and the place or
.... _ places at which Notes shall be surrendered for prepayment.
            Section 9.3    Maturity; Surrender, Etc. In the case of each prepayment of Notes
    pursuant to this Section 9, the principal amount of each Note to be prepaid shall mature and
    become due and payable, without premium (except the premium specified Section 9.1{b), as
    applicable) or penalty in cash on the date fixed for such prepayment (assuming the conditions, if
    any, relating to such prepayment, as specified in the applicable notice of prepayment have been



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    satisfied), in each case upon surrender of such Note for prepayment in accordance with the notice
    described in Section 9.1 or Section 9.2, as applicable.

                                               Section 10

                                 Mandatory Prepayment of the Notes.

             Section 10.1 Prepayment upon Redemptions. On or after December 1, 2011, within
    thirty (30) days of any written notice from Purchaser of a redemption request from one or more
    unaffiliated limited pariner(s) in Purchaser's fund (each such request, a "Redemption Event''),
    which notice shall state the full amount of funds requested to be redeemed by such unaffiliated
    limited pactner(s) in Purchaser's fund (the "Redemption Amount"), the Company shall prepay a
    principal amount of the Notes equal to fifty percent (50%) of the Redemption Amount set forth
    in such notice; provided, that any such redemption request must be accompanied by evidence,
    reasonably satisfactory to the Company, that the purpose and use of proceeds of the Redemption
    Event is to satisfy such redemption request (and no more than 50% the total amount thereof).

                                               Section 11

                                           Events of Default.

          An "Event of Default" shall exist if any of the following conditions or events shall occur
   and be continuing:

                (a)    the Company defaults in the payment of any principal on any Note when
   the same becomes due and payable;

                      (b)     the Company defaults in the performance of or compliance with any other
   tenn contained herein and such default is not remedied within thirty (30) days after the Company
   receives written notice of such default from any holder of a Note (any such written notice to be
   identifi.-.~d as a "notice of default" and to ~efer specifically to this Section 11(b));

                   (c)    the Company, or any of its Significant Subsidiaries (i) breaches a material
   term of any Indebtedness and (ii) such breach results in lndebtedness in an aggregate amount
   (with other defaulted indebtedness) in excess of $500,000 becoming due and payable prior to its
   due date, and with respect to which a demand for payment has been made and not withdrawn
   within thirty (30) days of such demand being made;

                   (d)    a final judgment or judgments for the payment of money aggregating in
   excess of $500,000 are rendered (and not previously cured pursuant to the terms of this Section
   11 (d)) against the Company or any of its Significant Subsidiaries, and which judgments are not,
   within sixty (60) days after the entry thereof, bonded, discharged or stayed pending appeal, or are
   not discharged within sixty {60) days after the expiration of such stay; provided, however, that
   any judgment which is covered by insurance or an indemnity from a credit~worthy party shall not
   be included in calculating the amounts set forth above;

                 (e)    the Company or any of its respective Significant Subsidiaries (i) files, or
   consents by answer or otherwise to the filing against it of, a petition for relief or reorganization


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    or arrangement or any other petition in bankruptcy, for liquidation or to take advantage of a.t1.y
    bankruptcy, insolvency, reorganization, moratorium or other similar law of any jurisdiction,
    (ii) makes an assignment for the benefit of its creditors, (iii) consents to the appointment of a
    custodian, receiver, trustee or other officer with similar powers wHh respect to it or with respect
    to any substantial part of its property, or (iv) is adjudicated as insolvent or to be liquidated; or

                    (f)     a court or Govemmental Authority of competent jurisdiction enters an
    order appointing, without consent by the Company, or any of its Significant Subsidiaries, a
    custodian, receiver, trustee or other officer with similar powers with respect to it or with respect
    to any substantial part of its property, or constituting an order for relief or approving a petition
    for relief or reorganization or any other petition in bankruptcy or for liquidation or to take
    advantage of any bankruptcy or insolvency Iaw of any jurisdiction, or ordering the dissolution,
    winding-up or liquidation of the Company or any of its Significant Subsidiaries, or any such
    petition shall be filed against the Company, or any of its respective Significant Subsidiaries and
    such petition shall not be dismissed within sixty (60) days.

                                                Section 12

                                       Remedies on Default, Etc.

           Section 12.1    Acceleration. If any Event of Default has occurred and is continuing,
    holders of more than 50% of the aggregate principal amount of the Notes at the time outstanding
   . may at any time at its or their option, by notice or notices to the Company, declare all the Notes
     then outstanding to be immediately due and payable. Upon any Notes becoming due and
    payable under this Section 12~ 1, such Notes will forthwith mature and the entire unpaid principal
    amount of such Notes shall all be immediately due and payable, without presentment, demand,
    protest or further notice, all of which are hereby waived. Notv.1ithstanding the foregoing, any
    such declaration pursuant to this Section 12.1 that the Notes then outstanding are immediately
    due and payable shal1 be void retroactively, and the Notes shall not be due and payable, if the
    Event ofDefault is cured and/or otherwise no longer continuing within thirty (30) days following
    such declaration; provided, however, that the foregoing clause shall not apply if Section 11
    provides for a cure or remedy period for such Event of Default of not less than thirty (30) days.

           Section 12.2 Rescission. At any time after any Notes have been declared due and
   payable pursuant to Section 12.1, the holders of more than 50% of the aggregate principal
   amount of the Notes then outstanding, by written notice to the Company, may rescind and annul
   any such declaration and its consequences if (a) the Company has paid all p1incipal of any Notes
   that are due and payable and are llllpaid other than by reason of such declaration, and (b) no
   judgment or decree has been entered for the payment of any monies due pursuant hereto or to the
   Notes which would conflict with such-rescission. No rescission and annulment Wlder this
   Section 12.2 will extend to or affect any subsequent Event of Default or Default or impair any
   right consequent thereon.

           Section 12.3 No Waivers or Election of Remedies, Expenses, Ete. No course of
    dealing and no delay on the part of any holder of any Note in exercising any right, power or
    reniedy shall operate as a waiver thereof or otherwise prejudice such holder's rights, powers or
    remedies. No right, power or remedy conferred by this Agreement or by any Note upon any


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    holder thereof shall be exclusive of any other right, power or remedy refen·ed to herein or therein
    or now or hereafter available at law, in equity, by statute or otherwise.

                                               Section 13

                            Registration; Exchange; Substitution of Notes.

            Section I 3.1 Registration of Notes. The Company shall keep at its principal executive
    office a register for the registration of transfers of Notes. The name and address of each holder
    of one or more Notes, each transfer thereof and the name and address of each transferee of one or
   more Notes shall be registered in such register. Prior to due presentment for registration of
   transfer, the Person in whose name any Note shall be registered shall be deemed and treated as
   the owner and holder thereof for all purposes hereof, and the Company shall not be affected by
   any notice or knowledge to the contrary. Notwithstanding anything to the contrary contained
   herein or in the Notes, other than a transfer to an Affiliate of a holder or any other fund managed
   or sponsored directly or indirectly by Weston Capital Management LLC or any Affiliate thereof,
   the Notes shall be non-transferable by hOlder thereof, unless any transfer, assignment,
   hypothecation, pledge, sale, divestment or other disposition is preceded by prior written consent
   of the Company. The holder shall have the right to convey custody of any Note to any financial
   institution, inch1ding, without limitation, Societe General or any of its Affiliates.

            Section 13.2 Transfer and Exchange of Notes. Subject to the prior written consent of
    the Company pursuant to Section 13.1 and the receipt by the Company of evidence reasonably
    satisfactory to it (it being understood· that the receipt of an opinion of counsel to such effect in
    form and substance reasonably satisfactory to the Company shall be sufficient evidence) that
    such transfer is exempt from registration under the Securities Act, upon surrender of any Note to
   the Company at the address and to the attention of the designated offic~ for registration of
    transfer (and in the case of a surrender for registration of transfer accompanied by a written
   instrument of transfer duly executed by" the registered holder of such Note and accompanied by
   the relevant name, address and other information for notices of each transferee of such Note or
   part thereof), within ten (10) Business Days thereafter, the Company shall execute and deliver, at
   the Company's expense (except as provided below), one or more new Notes (as requested by the
   holder thereof) in exchange therefor, in an aggregate principal amoun.t equal to the unpaid
   principal amount of the surrendered Note. Each such new Note shall be payable to such Person
   as such holder may request and shall be substantially in the form of Exhibit 1. Each such new
   Note shall be dated from the date of the most recent 12 month"anniversary of the Closing Date.
   The Company may require payment of a sum sufficient to cover any stamp tax or governmental
   charge imposed in respec_t of any such transfer of Notes. Notes shall not be transferred in
   denominations of less than $250,000, provided that if necessary to enable the registration of
   transfer by a holder of its entire holding of Notes, one Note ..m~y be in a denomination of less
   than $250,000. Any transferee of a Note shall, by acceptance of such Note, be bound by this
   Agreement.                                                                  "

          Section 13.3 Replacement of Notes. Upon receipt by the Company at the address and
   to the attention of the designated officer of evidence reasonably satisfactory to it of the
   ownership of and the loss, theft, destruction or mutilation of any Note, and




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                     (a)     m the case of loss, theft or destruction, of indemnity reasonably
    satisfactory to it, or

                    (b)      in the case of mutilation, upon surrender and cancellation thereof,

    within ten (lO) Business Days thereafter, the Company shall execute and deliver, in lieu thereof,
    a new Note, dated from the date of the most recent 12 month anniversary of the Closing Date.



                                                  Section 14

                                             Payments on Notes.

            The Company shall at all times maintain an office or agency in the United States at which
    the Notes may be presented for payment. The Company initially design~tes its office at 2425
    Colorado Blvd, Suite B205, Santa Monica, CA 90404 as such office. Except as provided in the
    Notes, payment on the Notes shall be made at such office and in such lawful money of the
    United States of America as at the time of payment shall be legal tender for the payment of
    public and private debts..

                                                  Section 15

                                         Amendment and Waiver:.

             Section 15.1 Requirements. This Agreement and the Notes may be amended, and the
    observance of any term hereof or of the Notes may be waived (either retroactively or
    prospectively), with (and only with) the written consent of the Company and the holders of more
    than 50% of the aggregate principal amount of the Notes at the time outstanding, except that
    (a) no amendment or waiver of any of the provisions of Section 1, Section 2, Section 3 or Section ··
   .3.2 will be effective as to the Purchaser unless consented to by the Purchaser in writing and
    (b) no such amendment to or waiver of a provision of the Notes may, without the written consent
    of the· holder of each Note at the time outstanding affected thereby, (i) subject to the provisions
    of Section 12 relating to acceleration or rescission, change the amount or time of any prepayment
    or payment of principal of such Note, (ii) change the percentage of the principal amount of the
   Notes the holders of which are required to consent to an amendmen~ or waiver hereunder~ or
    (iii) adversely affect in any material respect the right of holders of Notes to convert their Notes
   pursuant to the tenns hereof.

           Section 15.2 Binding Effect, Etc. Any amendment or waiver consented to as provided
   in this Section 15 applies equally to all holders of Notes and is binding upon them ana·upon each
   future holder of any Note and upon the Company without regard to whether such Note has been
   marked to indicate such amendment or waiver. No such amendment or waiver will extend to or
   affect any obligation, covenant, agreement, Default or Event of Default not expressly amended
   or waived or impair any right consequent thereon. No course of dealing between the Company
   and the holder of any Note, nor any delay in exercising any rights hereunder or under any Note
   shall operate as a waiver of any rights of any bolder ofsuch Note. As used herein, the term ••this



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    Agreement, and references thereto shall mean this Agreement as it may. from time to time be
    amended or supplemented.

                                                Section 16

                                                 Notices.
            Except as otherwise provided in this Agreement, all notices and communications
    provided for hereunder shall be in writing and sent (a} by facsimile if the sender on the same day
    sends a confinning copy of such notice by a recognized overnight delivery service (charges
    prepaid), or (b) by registered or certified mail with return receipt requested (postage prepaid), or
    (c) by a recognized overnight delivery service (with charges prepaid), or (d) if consented to by
    the recipient, by electronic maiL Any such notice must be sent:

                           (i)    if to the Purchaser or its nominee, to the Purchaser or nominee at
           the address specified for such communications in Schedule A, or at such other address as
           the Pw·chaser or nominee shall have specified to the Company in writing;

                          (ii)    if to any other holder of any Note, to such holder at such address as
           such other holder shall have specified to the Company in writing; or           ·

                         (iii)   if to the Company, to 2425 Colorado Blvd, Suite B205, Santa
           Monica, CA 90401 to the attention of Contract Adminstrator, facsimile number: (31 0)
           388-5363, or at such other address as the Company shall have specified to the holder of
           each Note in writing.

   Notkes under this Section 16 will be deemed given only when (x) delivered by physical delivery
   or electronic mail (or if such date is not a Business Day, on the next Business Day), (y) facshnile
   confirmation is received (or if such receipt is not on a Business Day, on the next Business Day)
   or (z) if sent by registered or certified mail, three (3} Business Days after the date of mailing.

                                                Section 17

                                              Miscellaneous.

           Section 17.1 Severability. Any provision of this Agreement that is prohibited or
   unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such·
   prohibition or unenforceability without invalidating the remaining provisions hereof, and any
   such prohibition or unenforceability in any jurisdiction shall (to the full extent permitted by law)
   not invalidate or render unenforceable such provision in any other jurisdiction.

            Section 17.2 Counterparts. This Agreement may be executed in any number of
   counterparts, each of which shall be an original but aU of which together shall constitute one
   instrument. Each counterpart may consist of a number of copies hereof, each signed by less than
   all, but together signed by all, of the parties hereto.

          Section 17.3    Governing Law; Venue



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                    (a)     .Goveming Law. This Agreement and the Notes may not be modified or
    terminated orally, and shall be constmed and interpreted according to the internal laws of the
    State of New York, excluding any choice of law rules that may direct the application of the laws
    of another jurisdiction.

                    (b)     Venue. Each party agrees that it will bring any action or proceeding in
    respect of any claim arising out of or related to this Agreement or the Notes exclusively in any
    federal or state court sitting in the State ofNew York (the "New York Courts"), and, solely in
    connection with claims arising under this Agreement or the Notes, (i) irrevocably submits to the
    exclusive jurisdiction of the New York Courts; (ii) waives any objection to laying venue in any
    such action or proceeding in the New York Courts; (iii) waives any objection that the New York
    Courts are an inconvenient forum or do not have jurisdiction over any party; and (iv) agrees that
    service of process upon such party in any such action or proceeding will be effective if notice is
   ·given in accordance with Section 17.

                    (c)     WAIVER OF JURY TRIAL Each party acknowledges and agrees that
    any controversy which may arise under this Agreement or the Notes is likely to involve
    complicated and difficult issues, and therefore each such party hereby irrevocably and
    unconditionaUy waives any right such party may have to a trial by jury in respect of any
    litigation directly or indirectly arising out of or relating to this Agreement or the Notes. Each ·
    party certifies and acknowledges that: (i) no representative, agent or attorney of any other party
    has represented, expressly or otherwise, . that such other party would not, in the event of
  · litigation, seek to enforce the foregoing waiver; (ii) each party understands and has considered
    the implications of this waiver; (iii) each party makes this waiver voluntarily; and (iv) each party
    has been induced to issue or accept delivery of the Notes, as applicable, by among other things
    the mutual waivers and certifications in this Section 17.3.

            Section 17.4 Construction.        All references in th;s Agreement to Exhibits,
    Schedules, Sections, subsections and other subdivisions refer to the Corresponding Exhibits,
    Schedules, Sections, subsect.ions and other subdivisions of this Agreement unless expressly
   ·provided othe~; · -Titles ·appearing at the beginning of any Sections, subsections or other
    subdivisions of tfiis Agreement are for convenience only, do not constitute any part of such
    Sections, subsections or other subdivisions and shall be disregarded in construing the language
                                               1

    contained therein. 11le words "this Agreement,'' "herein," "hereby," "hereunder'' and "hereof'
    and words of similar import, refer to this Agreement as a whole and not to any particular
    subdivision unless expressly so limited. The words "this Section," "this subsection" and words
    of similar import, refer only to the Sections or subsections hereof in which such words occur.
    The word "including" (in its various fonns) means "including, without limitation." Pronouns in
    masculine, feminine or neuter genders shall be construed to state and include any other gender
    and Words, tenns and titles (including terms defined herein) in the singular form shall be
    construed to include the plural and vice versa, unless the context otherwise expressly requires.
    Unless the context otherwise requires, all defined tenns contained herein shall include the
    singular and plural and the conjunctive and disjunctive fom1s of such defined tenns.

         Section 17.5 Payment Of Collection, Enforcement And Other Costs. If there occurs
   any bankruptcy, reorganization, receivership of the Company or other proceedings affecting
   Company creditors' rights and involving a claim under this Agreement or the Notes or if the


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     holders ofNotes otherwise take action to collect amounts due under the Notes or to enfor.ce the
     provisions of this Agreement or the Notes, then the Company shall pay the costs incurred by the
     holders for such enforcement or action or in connection with such bankruptcy, reorganization.
     receivership or other proceeding, including, but not limited to, attorneys' fees and disbursements.



                                                *** **




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           If you are in agreement with the foregoing, please sign the form of agreement· on a
    counterpart of this Agreement and return it to ·the Company, whereupon this Agreement shall
    become a binding agreement between you, the Company and (to the extent set forth below.)




    This Agreement is hereby accepted and agreed to as ofthe date thereof.




                                                 Wimbledon Fund (Class TT), a class of a
                                                 Cayman Islands Segregated Portf~omp



                                                 By:
                                                           @                         /   "=---,-.____ ,
                                                        Name:
                                                                                         Benjamin D. Miller
                                                        Title:     ! •.   - ... -;
                                                                                              Director




                                [Signature page to Note Purchase Agreement]
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                                                                                         Schedule A

                                 INFORMATION RELATING TO PURCHASER

                                                                           Principal Amount of Notes
                         Name and Address of Purchaser                           to be Purchased
     Wimbledon Fund (Class TT), a class of a Cayman Islands                 $             25,000,000
     Segregated Portfolio Company

    ( 1)    All payments by wire transfer of immediately available funds to:

     Purchaser                                             Wire Instructions
     Wimbledon Fund (Class Tf), a class of a Cayman        Ban1c The Bank of New Canaan
     Islands Segregated Portfolio Company                  ABA: 021-113-662
                                                           FBO: The Wimbledon Fund SPC- Class IT
                                                           Account#: Redacted



     with sufficient information to identify the source and application of such funds.

    (2)     All communications, including notices of payments and written confirmation of such
    wire transfers to:

            Keith D. W.ellner
            Chief Operating Officer
            Weston Capital Management
           767 Third Ave- 25th Floor
           New York, New York 10017
           Keith.Wellner@westoneapital.com
           Tel      212.318.3500
           Fax     _212.980.4064




                                              Schedule A - 1
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                                                                                         Schedule B

                                          · DEFINED TERMS

             As used herein, the following tem1s have the respective meanings set forth below or set
     torth in the Section hereof following such tenn:

            "Affiliate" of any specified Person means any other person which, directly or indirectly,
    is in control of, is controlled by, or is under common control with, such specified Person. For
    purposes of this definition, control of a Person means the power, direct or indirect, to direct or
    cause the direction of the management and policies of such Person whether by contract or
    otherwise; and the terms "controlling" and "controlled" have meanings correlative to the
    foregoing.

            "Agreement" is defined in Section 1.

         "Business Day" means any day other than a Saturday, a Sunday or a day on which
    commercial banks in New York, New York are required or authorized to be closed.

           "Closing" is defined in Section 3. ·

           "Closing Date" is defined in the Purchase Agreement.

           "Company" is defined in the first paragraph of this Agreement.

            "Default" means an event or condition the occurrence or existence of which would, with
    the lapse of time or the giving of notice or both~ become an Event of Default.

           "Event of Default" is defined in 11.

            "Exchange Act'~ means the Securities Exchange Act of 1934, as amended from time to
    time, and the rules and regulations promulgated thereunder from time to time in effect.
                                                                                              ;~~?----.·

            "GAAP" means generally accepted accounting principles as in effect from time to time
    in the United States of America.
            "Governmental AutllOrity" means the govenunent of the United States of America or
    any State or other political subdivision thereof, or any other jurisdiction in which the Company
    or any subsidiary conducts all or any part of its business, or which asserts jurisdiction over any
    properties of the Company or any subsidiary, or any entity exercising executive. legislative,
    judicial, regulatory or administrative functions of. or P.ertaining to, any such government.

            "holder" means, with respect to any Note the Person in whose name such Note is
    registered in the register maintained by the Company pursuant to Section 13.

           "Indebtedness" means, with respect to any Person, (a) any indebtedness, contingent or
    otherwise, in respect of borrowed money, including indebtedness in respect of borrowed money
    evidenced by bonds, notes, debentures or similar instruments, (b) letters of credit or (c)



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    indebtedness representing the balance deferred and unpaid of the purchase price of any property
    (including pursuant to financing leases), regardless of whether any of the foregoing indebtedness
    would. appear as a liability upon a balance sheet of such Person prepared on a consolidated basis
    in accordance with GAAP and regardless of whether or not the recourse of the lender is to the
    whole ofthe assets of such Person or only to a portion thereof ·

           "Information" is defined in Section 6.3(b).

           "Material Adverse Effect" is defined in the Purchase Agreement.

           "Net Asset Value" is defined in Error! Reference source not found ..

           "New York Courts" is defined in Section 17.3(b).

           "Notes" is defmed in Section 1.

           "Permitted Indebtedness" shall mean (a) Indebtedness of Company to a wholly-owned
   subsidiary of Company~ so long as the applicable subsidiary remains directly or indirectly
   wholly-owned by Company; (b) Indebtedness outstanding on the date hereof (including the
   Notes and any other notes issued pursuant to the Purchase Agreement) and any refinancings,
   refundings, renewals or extensions thereof (without increasing, or shortening the maturity of, the
   principal amount thereof); (c) trade accounts payable of the Company arising in the ordinary
   course of business (such trade accounts payable being pari passu in right of payment to the
   Notes); or margin debt provided by any institution holding publicly traded securities for
   Company, which proceeds may be used to make investment in any public or non-public
   securities, including to affiliates of Company which are not subsidiaries of Company.

           "Person" means an· individual, partnership (limited or general), corporation, joint
   venture, limited liability company, association, trust, business trust, unincorporated organization
   or business entity.

          "Purchase Agreement>' means the Purchase Agreement, dated as of November 14,
   2011, by and among Company and Purchaser.

          "Purchaser" is defined in the first paragraph of this Agreement.

           "S_ecur.ities" means the Notes, the Warrants of Pineboard that are being delivered to the
   Holder simultaneously with the Notes and any shares of Common Stock of Pineboard that may
   be issued upon exercise of. any such Warrants.               ·

           "Securities Act" means the Securities Act of 1933, as amended from time to time, and
   the rules and regulations promulgated thereunder from time to time in effect.

          "Significant Subsidiary" means any subsidiary of Compnay which has a value in excess
   of$500,000.

          "Transactions" is defined in Section 6.3(a).




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